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           IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF MISSISSIPPI
                       GREENVILLE DIVISION


MONTRELL GREENE                                                                       PLAINTIFF


VS.                                    CIVIL ACTION NO.: 4:16-cv-93-GHD-JMV


GREENWOOD PUBLIC SCHOOL DISTRICT,
AND DEIRDRE MAYES, RANDY CLARK, AND
SAMANTHA MILTON, IN THEIR OFFICIAL
OFFICIAL AND INDIVIDUAL CAPACITIES                                                    DEFENDANTS



            RESPONSE IN OPPOSITION TO MOTION TO STRIKE
                     (Points and Authorities Included)

        COMES NOW Plaintiff, Montrell Greene, by and through counsel, and files

this his response in opposition to Defendants’ Motion to Strike and in support

hereof would show unto the Court, the following to-wit:

        1. That Plaintiff requests that this Court waive the requirement of a

Memorandum of law in the filing of this response.¹

        2. That on June 6, 2016, Defendants filed their motion to dismiss [Doc. #3]

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              ¹      Plaintiff intends to file a motion to vacate and for reinstatement together with a
                     memorandum brief to support the same no later than June 30, 2018.
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pursuant to F. R. C. P. 12(b)(1) and (6), seeking dismissal for (1) lack of

jurisdiction pursuant to Miss. Code Ann. §37-9-113[Doc. #3, ¶¶2-5]; (2) failure to

state a claim for deprivation of liberty interest [Doc. #3, ¶6]; (3) qualified

immunity [Doc. #3, ¶7]; and (4) the Miss. Tort Claims Act [Doc. #3, ¶¶8-9].

         3. That State law claims were not the subject of a final appealable judgment

as the §1983 deprivation of property and liberty were and therefore a motion to

strike is premature since the subject matter of the Defendants’ motion to strike is

not now pending before this Court.

         4. That the motion to dismiss did not request that the Court dismiss the

following claims filed by Plaintiff: (1) that Defendants actions deprived Plaintiff of

his property rights under [Complaint, Art. 3, ¶14, Miss. Constitution, in Count IV,

[Doc. #1, ¶¶ 50-53]; and (2) breach of contract Complaint, Count VI, Doc.# 1,

¶¶61-63 nor Count V of the Complaint because it specifically contends that

Defendants failed to provide Plaintiff a pretermination hearing. [Doc. #1, ¶¶54-

56].

         5. Plaintiff would further show that the pendent state claw claims were

dismissed without prejudice and solely because the Court ruled that it lacked

jurisdiction to hear Plaintiff’s federal claims. [Doc. #21, ¶¶ 18-19]. Further, the

Miss. statute of limitations for bringing the state law claims has not run and they

can be reinstated as claims before this Court or litigated as separate claims in State
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courts.

      6. Plaintiff would show that once that §1983 claim for violation of

Plaintiff’s due process was reinstated by the Fifth Circuit, the sole claim subject to

finality and dismissed by this Court and subject to affirmance by the Fifth Circuit

is the remain claim dismissed, with prejudice, i.e., the liberty claim. Plaintiff has

the right to requests that this Court use its pendent jurisdiction to append the State

law claims to a valid federal claim that arises out of “a common nucleus of

operative facts.” See, United Mine Workers of America v. Gibbs, 383 U. S. 715,

775 (1966).

      7. The §1983 claims now pending before this Court arises out of the same

claim or cause of action as the State law claims and the evidence to support the

§1983 claim will be the same or substantially the same as that required to prove

the State law claims. Further, it is more economical, convenient and fair to litigate

the claims in conjunction with the §1983 claim. Gibbs, Id.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that the

Court deny Defendants’ motion to strike as premature, or in the alternative, on

grounds that it lacks merit because there has not been a final judgment on said

claims.
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      RESPECTFULLY SUBMITTED, this the 19th day of June, 2018.

                                                     /s/ WILLIE GRIFFIN
                                                     WILLIE GRIFFIN, MSB 5022
                                                     BAILEY & GRIFFIN, P.A.
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                                                     ATTORNEY FOR PLAINTIFF




                            CERTIFICATE OF SERVICE

      I, Willie Griffin, attorney for Respondent, do hereby certify that I have this day,

filed electronic the foregoing with the Clerk of Court by using the EFC system, which

sent notification of such filing to the following:

             Robert F. Stacy, Jr., Esq.
             Daniel Coker Horton & Bell, P.A.
             P. O. Box 1396
             Oxford, MS 38655-1396

      CERTIFIED, this 19TH           day of June, 2018.


                                                     _/s WILLIE GRIFFIN
                                                     WILLIE GRIFFIN
